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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                    )                             Chapter 11
                                          )
WOODBRIDGE GROUP OF COMPANIES,            )                             Case No. 17-12560 (BLS)
LLC, et al., 1
             0F                           )
                                          )                             (Jointly Administered)
               Remaining Debtors.         )
__________________________________________)
MICHAEL GOLDBERG, in his capacity as      )
Liquidating Trustee of the WOODBRIDGE     )
LIQUIDATING TRUST,                        )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )                             Adv. Proc. No. 19-51039 (BLS)
                                          )
BASIC FINANCIAL SERVICES INC., BASIC      )
WEALTH ADVISORS, INC. and FRED C.         )
JOHNSON,                                  )
                                          )
               Defendants.                )
__________________________________________)

                  ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

         THIS MATTER, came before the Court upon motion of James Tobia Esq. (“Tobia”) and

Roland Gary Jones, Esq. (“Jones”; collectively with Tobia, the “Movants”) for an order

permitting their withdrawal as counsel (the “Motion”) for Basic Financial Services Inc., Basic

Wealth Advisors, Inc. And Fred C. Johnson (the “Defendants”) in Michael Goldberg, in his

capacity as Liquidating Trustee of the Woodbridge Liquidating Trust v. Basic Financial Services

Inc., Basic Wealth Advisors, Inc. And Fred C. Johnson, Adv. Proc. No. 19-51039-BLS (the

“Adversary Proceeding”). The Court, having reviewed the record and finding cause has been

shown, it is hereby:


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172).
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       ORDERED AND ADJUDGED as follows:

       1.      The Motion is hereby granted.

       2.      Movants and their respective law firms are permitted to withdraw as counsel of

record for the Defendants for the Adversary Proceeding.

       3.      Movants and their respective law firms are hereby relieved from any and all

further obligations on behalf of the Defendants.

       4.      Defendants shall engage new counsel who will file a notice of appearance in this

proceeding within 30 days of the date hereof, failing which the Court may enter relief against

Defendants.

       5.      Movants are directed to serve the Defendants with a copy of this Order.

       6.      The Clerk of this Court is hereby directed to send all subsequent notice to:

                                        Fred C. Johnson
                                  Basic Financial Services Inc.
                                  Basic Wealth Advisors, Inc.
                                205 S Ocean Grande Drive, #104
                                 Ponte Vedra Beach, FL 32082
                                      fcj133@gmail.com
                                        (864) 631-6459
                                        (317) 887-0737




Dated: Wilmington, Delaware                          ____________________________________
       January 21, 2021                              Brendan Linehan Shannon
                                                     United States Bankruptcy Judge
